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                IN THE UNITED STATES BANKRUPTCY COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                             ROME DIVISION

AUTO NOW, LLC,                           )
                                         )
      Movant,                            )        CHAPTER 13
v.                                       )
                                         )        CASE NO. 17-42473-PWB
BONNIE J. VERHINE,                       )
                                         )
      Debtor, and                        )
                                         )        CONTESTED MATTER
MARY IDA TOWNSON, Trustee,               )
                                         )
      Respondents.                       )

     OBJECTION TO CONFIRMATION OF DEBTOR’S CHAPTER 13 PLAN


      NOW COMES Auto Now, LLC (“Movant”), and pursuant to 11 U.S.C. § 1324(a),
files this Objection to Confirmation of Debtor’s Chapter 13 Plan, and shows the Court as
follows:
                                             1.
      On October 17, 2017, Bonnie J. Verhine (“Debtor”) filed a Voluntary Petition
pursuant to 11 U.S.C. Chapter 13, and said case is pending before this Court.
                                             2.
      Movant is a creditor in Debtor’s bankruptcy, and has filed a secured claim in the
amount of $10,917.74. See Claim No. 12-1.
                                             3.
      Movant is providing the financing for Debtor’s ’08 Nissan Xterra.
                                             4.
      Debtor’s proposed Chapter 13 Plan proposes to pay Movant’s secured claim at
$100.00 per month with a step to $367.00 beginning September 2018. The Plan further
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provides for no adequate protection payments and interest to be paid towards the claim at
5.25%.
                                              5.
       This payment distribution to a secured creditor does not comply with the statutory
requirements in order for a plan to be confirmed.
                                              6.
       “[T]he court shall confirm a plan if … with respect to each allowed secured claim
provided for by the plan … the plan provides that … if property to be distributed pursuant
to this subsection is in the form of periodic payments, such payments shall be in equal
monthly payments.” 11 U.S.C. § 1325(a)(5)(B)(iii)(I). Because Movant has an allowed
secured claim that has been provided for in the plan, and the proposed plan provides that
periodic payments will be paid to Movant, the Debtor is required to propose a plan in
which Movant’s claim will receive equal monthly payments beginning at confirmation.
       “The equal payment provision prevents debtors from backloading payments to
secured creditors or paying them other than on a monthly basis.” In re Rivera, 2008 WL
1957896 (N.D.Ind.). Further, the plain language of 11 U.S.C. § 1325(a)(5) makes clear
that the payments should begin at confirmation. See In re Sanchez, 384 B.R. 574
(Bkrtcy.D.Or.,2008) (“This court construes ‘during the period of the plan’ to mean equal
monthly payments must commence with confirmation and last until the secured claim is
paid.”); In re Williams, 385 B.R. 468 (Bkrtcy.S.D.Ga.,2008) (“Unless the creditor
agrees otherwise, the plan must provide for such creditors to receive equal monthly
payments beginning with the first distribution post-confirmation and the payment amount
must be sufficient to provide adequate protection during the period of the plan.11 U.S.C.
§§ 1325(a)(5)(B)(iii)(I) and (II). The use of ‘and’ as a conjunctive requires the two
phrases be applied together.”)
                                              7.
       In order to comply with the requirements of 11 U.S.C. § 1325, Debtor’s plan
should be amended to provide for equal monthly payments to be paid towards Movant’s
claim, with these payments to commence at confirmation.
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                                              8.
       Further, Debtor’s proposed plan fails to adequately protect Movant’s interest in the
Collateral. In order to have a plan confirmed, the proposed payments a secured creditor
receives “shall not be less than an amount sufficient to provide to the holder of such
claim adequate protection during the period of the plan.” 11 U.S.C. §
1325(a)(5)(B)(iii)(II).
       Movant is entitled to have both pre-petition adequate protection payments and
payments sufficient to adequately protect its security interest post-confirmation, as
required by 11 U.S.C. § 1325(a). Movant is entitled to adequate protection payments of at
least 1 1/2% of its claim amount, or $163.77 per month.


                                              9.
       Movant further objects to confirmation on the grounds that the proposed interest
rate (5.25%) is insufficient to pay Movant the present value of its Claim.


WHEREFORE, Movant prays that this Court:
       a. Sustain Movant’s Objection to Confirmation;
       b. Deny confirmation of Debtor’s Plan;
       c. Award Movant attorney fees for the cost associated with the filing of this
           Motion;
       d. Grant such other and further relief as the Court deems to be just and proper.


This 9th day of January, 2018.
                                           By:     ___/s/ Wes Dunlap______________
5604 Wendy Bagwell Pkwy Ste 923                    Wes Dunlap
Hiram, GA 30141                                    Attorney for Movant
770-489-5122                                       GA Bar No. 456237
wes@dunlapgardiner.com
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MARY IDA TOWNSON, Trustee,                    )
                                              )
       Respondents.                           )

                                  Certificate of Service
I, Wes Dunlap, certify that I am over the age of 18 and that on January 9, 2018, I served
a copy of the foregoing OBJECTION TO CONFIRMATION OF DEBTOR’S CHAPTER
13 PLAN and Notice of Hearing by first class U.S. Mail, with adequate postage prepaid
on the following persons or entities at the addresses stated:


Jason Paul Verhine                     Mary Ida Townson, 13 Trustee
14 Euharlee Street                     191 Peachtree Street, NE Ste 2200
Taylorsville, GA 30178                 Atlanta, GA 30303-1740

Bonnie Jean Verhine
14 Euharlee Street
Taylorsville, GA 30178

 Howard P. Slomka
Slipakoff & Slomka, PC
Overlook III - Suite 1700
2859 Paces Ferry Rd, SE
Atlanta, GA 30339

/s/ _________________
Wes Dunlap
Attorney for Movant
GA Bar No. 456237
5604 Wendy Bagwell Pkwy Ste 923
Hiram, GA 30141
770-489-5122
